Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1295 Filed 06/27/19 Page 1 of 16




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    !
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION,
    !
    UNITED STATES OF AMERICA,
    !
           Plaintiff,
    -vs-                                                 Case No. 17-20183
                                                         Hon. MARK A. GOLDSMITH
    D-5, HAROLD LASHAWN NERO,
    !
          Defendant.
    _______________________________________________________________________/
    !
                  REVISED MOTION FOR THE REVOCATION OF THE
                              DETENTION ORDER
                                                 !
        Now comes Defendant, D-5, HAROLD LASHAWN NERO, by and through his

    counsel, Mark H. Magidson, and in support of his Revised Motion for the Revocation of

    the Detention Order previously filed in this matter, states unto this Honorable Court as

    follows:

        1. Defendant is charged with in a multi- count Indictment, with Count I, Sex

           Trafficking Conspiracy, contrary to 18 U.S.C. §1594(c); Count II, sex trafficking

           by force, fraud and coercion, contrary to 18 U.S.C. §1591(a)&(b); Count III, sex

           trafficking by force, fraud and coercion, contrary to 18 U.S.C. §1591(a)&(b);

           Count IV, Conspiracy to Distribute a Controlled Substance, Contrary to 21 U.S.C.

           §§ 841(a)(1)l 841(b)(1)(A); 841(b)(1)(C); and Count VIII, Maintaining Drug-
Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1296 Filed 06/27/19 Page 2 of 16




           Involved Premises, contrary to 21. U.S.C., §856(a)(1) and or aiding and abetting

           of the same, contrary to 18 U.S.C. §2.

        2. He had been a frequent visitor at the Victory Motel when the Government raided

           the premises. He was under-employed at the time, a small time hustler.1

        3. When he was paroled in March of 2016 he gave the Victory Inn as his address and

           he was paroled to that facility. At the time the only way he was able to pay for his

           room was by doing odd jobs around the hotel such as cleaning up around the

           outside of the motel or doing similar basic work around the inn.

        4. The Victory Inn at the time of the raid was home to drug addicts and prostitutes;

           drugs were sold by a variety of people. This was a den of debauchery,

           licentiousness and self-indulgence.

        5. The Victory Inn was a life-style for a genre of people who were alienated from the

           mainstream or even the sidestream; they were in their own eddies and currents,

           directed only by their desire to get drugs and get high. For many of the persons

           connected to the Victory, their drug of choice was heroin; for Mr. Nero his drug

           was crack cocaine that he smoked.

        6. For many of the women connected with the Inn, their main source of income was

           prostitution. They would bring their customers to the Inn and rent a room;

           sometimes they had the room already rented and the men would come to their



    1  someone who knows how to get money from others. selling drugs,rolling dice,.. your
    hustlin for that money. https://www.urbandictionary.com/define.php?term=hustler
     "I'm a Hustla I can sell Salt To a Slug", verse by Cassidy


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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1297 Filed 06/27/19 Page 3 of 16




          room. The women who Mr. Nero knew would get customers from online sources

          such as Backpage.com or they walked Michigan Avenue.

       7. Shortly following the execution of the search warrant, Nero was interviewed by

          the agents and thereafter released; he was not arrested for sometime later when

          agents came to arrest him at a home of a friend where he had been staying.

       8. He had not fled the city or avoided detection.

       9. Mr. Nero was arrested and thereafter arraigned on these charges on June 30,

          2017.

       10. However, following his arraignment in this matter, Mr. Nero was detained based

          upon, among other things, the severity of the charges and his criminal history.

       11. He is currently in the custody of the U.S. Marshall and is being held in the Sanilac

          County Jail; before that it was the Midland County Jail.

       12. Mr. Nero has been locked up in county jails for two years; these detention

          facilities are built and designed to hold inmates no longer that one year. Most

          persons in the county jails are either awaiting trials in state court which will occur

          in less than one year or they have been sentenced to “county” time, the maximum

          can only be one year.

       13. There are no educational or other long-term programs at county jails because

          inmates there are not expected to be there for any length of time.

       14. Further, this county jail, like many others in Michigan is not equipped to have

          contact visitation. The only contact Mr. Nero can have with family or friends is




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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1298 Filed 06/27/19 Page 4 of 16




              via a recording or video. The effects on prolonged pretrial detention can be

              profound and unfair and are the subject of many articles. 2

          15. Mr. Nero has now been detained for two years; he has no major behavior

              problems according to the deputies at the Sanilac County Jail.3

          16. In reviewing the Indictment there are no specific allegations that Mr. Nero

              engaged in any specific acts of violence or engaged in any specific action of drug

              distribution or specific acts of maintaining a drug premises or engaged in specific

              acts of sex trafficking.

          17. The allegations against Mr. Nero are general in nature and allege in unspecific and

              vague terms that he “conspired” or “aided and abetted” in the foregoing activities

              without defining what he actually did.

          18. Indeed in going through substantial discovery thus far including written

              documents and video evidence, Mr. Nero is rarely mentioned directly or by his



    2   Many people who have spent time in detention may eventually be acquitted or released
    without a trial. Others may be convicted of low-level crimes that do not carry a prison
    sentence or receive sentences for terms of imprisonment less than the period they spent in
    detention.
    In the U.S., which has the largest pretrial detention population in the world, 20 percent of
    detainees eventually had their case dismissed or were acquitted.9After the long wait for a
    trial in Argentina, 30 percent of detainees were acquitted.10 In Mexico, 14 percent of
    detainees were acquitted; of those who were convicted, 85 percent received sentences of
    less than five years, meaning that their detention exceeded the sentence.11 Prisons: In
    Jail, But Not Sentenced | Americas Quarterly
    https://www.americasquarterly.org/aborn-prisons

    3 When asked for reports, the Sanilac County Jail officer stated that the reports are sent to
    the Marshall’s office and cannot be released to defense counsel.
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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1299 Filed 06/27/19 Page 5 of 16




          nickname of “Nephew”; only one mention of Nephew was made by a CI who

          claimed, “ he was at the Victory Motel.”

       19. It is Defendant’s position that the Magistrate Judge erred in finding that there

          were no conditions or combination of conditions that would satisfy the court that

          Mr. Nero would not be a danger to the community or that he would not be a flight

          risk.

       20. It is further his position that facts have changed since the court’s last

          consideration of this issue to justify this court taking a “second look” at the order

          forof pretrial detention. Specifically, Mr. Nero has been locked up for two years in

          a county jail designed to house inmates for a maximum of one year; he has had no

          significant behavior problems. Second, the defense has uncovered more witnesses

          to vouch on behalf of Mr. Nero and discredit the theories of the prosecution.

       21. At the time of the previous motion, investigation by the defense, various

          witnesses were located that know Mr. Nero as well or even better than the agents,

          who do not know him at all.

          PAST INVESTIGATIONS

       22. For instance, previous a letter from Gregory Stocchi who owns and operates a

          tree service business, and has known Mr. Nero for many years was willing and is

          still will to employ Nero. His letter was attached to the last motion and the facts

          have not changed specifically that he knows Nero to be a non-aggressive man

          who is a “gentle giant” and that he was a job waiting for Nero.




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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1300 Filed 06/27/19 Page 6 of 16




       23. This gentleman also has indicated that he would provide Nero with work or that

          he could find one of several small companies operated by his friends that could

          provide Nero with employment. This promise remains.

       24. In addition, Mr. Stocchi indicated at the time of the last motion that Mr. Nero

          could stay with him as long as he needs to; nothing has changed.

       25. Further, James Thompson, Jr. who is Mr. Nero’s father wrote a letter supporting

          his son. He acknowledged not being the best role model having been incarcerated

          for the first 15 year’s of Harold’s life. However ,Mr. Thompson noted that he and

          his son have now have good relationship and he knows his son, Harold, to have a

          good heart and is to all persons, including women. In addition, Mr. Thompson is

          still disabled as he was when he wrote his previous letter and relied upon his son

          to deal with the day to day issues of being physically limited.

       26. Kelly Spoor also wrote a letter which was attached to the prior motion She has

          known Harold Nero for 15-20 years. They are friends, not romantic. She never

          has observed Mr. Nero being violent nor has she ever heard people refer to him as

          being violent. She has observed him help people who were desperate. He would

          help people get clothes and food and he inspired others. He opinions have not

          changed.

       27. In her last letter, Ms. Spoor commented “Harold would walk with the girls who

          were too scared to walk alone to the store.” In many respects he was a guardian

          angel to a group of desperate people who lived in a “hellish place.” He is not

          perfect, she observed, but there is more good in him than bad.

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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1301 Filed 06/27/19 Page 7 of 16




       28. April Romero has known Mr. Nero for seven years. They share a common

          lifestyle. She has personally never seen him being intimidating or violent. She

          describes him as being kind and good to other people “like when he feeds and

          clothes people.” She further notes that they talk sports together and respects her.

       29. Ms. Romero further noted that she has never heard anyone woman accuse Nero of

          forcing a woman to do anything nor has she heard of Nero being violent towards

          women; in “my world, women just don’t gossip, they share information about

          what is really going on…information saves lives.” She concludes that if Harold

          hit just one girl, she would have heard about it.

       30. Similarly, Catlynn Durham stated that having been on the streets of Southwest

          Detroit, she got to know Harold Nero, a man she knows as “nephew” or “Sean.”

          She commented that Nero has been a positive influence on her life. She was

          aware of the claims being made against Mr. Nero and she knows they are false.

          She concludes that she knows from her own experience that Nero does not force

          women into drugs or prostitution.

       31. Further Tiffany Wallen was 26 years old when she wrote a letter on behalf of Mr.

          Nero. She stated she knew. Nero, who she knows as “Sean” or “Nephew” for two

          years. She met him at drug house where they were both purchasing narcotics. She

          was new to the City and was apprehensive. He calmed her down and made sure

          she was safe. She affirmed that Nero never forced any of the girls to take drugs or

          forced them into prostitution. She normally avoids contact with the “authorities”




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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1302 Filed 06/27/19 Page 8 of 16




          but is willing to come forward to set the record straight, that Nero is not the man

          portrayed in the indictment.

       32. At the time of the prior motion, Eboni Berry had known Nero for a decade and

          she described him as being a “hero to the working girls on Michigan Avenue”.

          She calls him “Sean.” Just like many of the girls, he “was addicted, lost souls

          roaming Michigan Avenue.” Her feelings and opinions have not changed.

       33. In the 10 years she Ms. Berri has known him, he has never mistreated, harmed or

          disrespected her or any other woman to her knowledge. If anyone were in need,

          Nero would “step out of his skin and give it to you.” She stayed with him at

          various times and over the years “he took care of me and a few other girls.”

       34. Ms. Berri read about the allegation against him in the newspaper and she

          concluded that the allegations, as described in the media “are totally false.” He

          would walk with the girls up Michigan Avenue to protect them, but he would not

          harm them. He was a loving, caring and spiritual individual who would never

          exploit females such as herself.

       35. These women who previously came forward are the workingwomen of Michigan

          Avenue and are well acquainted with what was occurring at the Victory Inn; they

          personally confirm that the Government got it wrong with accusing Nero of the

          chargers against him.

       36. The people who know Mr. Nero believe him to be a “gentle giant” and not a man

          known for hostility and violence. If released on bond he would not pose a danger

          to the community.

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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1303 Filed 06/27/19 Page 9 of 16




          MORE RECENT INVESTIGATIONS

       37. Since the filing of the last motion, Defendant’s counsel and investigator have

          located persons who were in the suspicious activities portions of the Victory Inn

          videos. The Government contends that these action videos support the sex

          trafficking and drug distribution charges contained in the Indictment. However

          theses witnesses confirm just the opposite and support Nero’s position

       38. For example, in one video, Nero is seen carrying a woman (identified here as “C”)

          out of an Inn room. She has her arms around Nero’s neck and legs crossed around

          his waist. She is not fully awake. The government argues that this was an example

          of Nero engaged in an act in furtherance of the sex trafficking conspiracy/drug

          distribution. When asked about that scene, Nero explained that he had room at the

          Inn with C, his girlfriend at the time. C had been in an Inn room occupied by man,

          “D,” to get high because D usually had a supply of heroin. After an hour or two, D

          called Nero to come and get C because she had fallen asleep in his room. Nero

          states that he went to D’s room and carried C back to their room. That is an

          innocent explanation for Nero’s behavior on the video.

       39. Individual C was located after multiple efforts. She was asked about the incident

          recorded by the security video, and she agreed with Nero’s explanation. C and

          Nero were together, and she was staying with him. C had gotten high and fell

          asleep, and Nero came to get her. Her memory is not specific as to dates, but C

          was specific about the details of the incident. C and Nero were intimate (not

          exclusive), they got high together, he treated her very well, and Nero was

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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1304 Filed 06/27/19 Page 10 of 16




           someone C could trust and rely upon. Nero never forced her (or any woman) to do

           anything against their will. C completely supported Nero’s explanation of the

           facts.

        40. In another video recorded incident, Nero is seen slapping a woman. She is hit in

           the face, and she falls to a knee. This takes place in a hallway of the Victory Inn.

           The government contends this was another example of Nero engaged in an act in

           furtherance of the sex trafficking conspiracy and or conspiracy to distribute drugs.

        41.When asked about this clip, Nero explained that the woman was “Little B,” whom

           he had known for years and considered to be like a niece. Nero acknowledges

           slapping her but not to force her to perform sexual acts or to pay a drug debt. Nero

           had gone into D’s room to get high when he saw D wearing one of Nero’s own

           shirts. Nero asked where D got the shirt, and D stated that he bought it from Little

           B without knowing it belonged to Nero.

        42.Nero confronted Little B, and she admitted to having stolen his property. The

           video shows Nero slapping Little B and his position it was for “punishment” for

           the theft. That was “street justice,” according to Nero. He was not going to go to

           the police, he was going to mete out punishment then and there, and that was the

           end of the dispute. The assault had nothing to do with sex trafficking or drug

           distribution; it was punishment for the theft of his property, according to him.

        43.After great searching and many missed appointments, Little B was located by the

           defense. Little B is a heroin addict and engages in prostitution. She claims to have

           a boyfriend who protects her on the street. When asked about the “slap” in the

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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1305 Filed 06/27/19 Page 11 of 16




           video, Little B recalled an incident when she stole Nero’s property and he slapped

           or hit her as a result. She was sorry for stealing but needed to get high. She

           confirms that Nero has always protected her (and the other women) and has never

           forced her, or anyone to have sex or use drugs. Little B cares for Nero and hopes

           she can be available for trial, but she does not know where she will be in the

           following months. She confirmed Nero’s version of the event.

        44. Mr. Nero believes there are a combination of conditions that would satisfy this

           court’s concern for the public safety and the concern for appearing for court

           proceedings.

        45. For instance this court can impose a GPS tether to be worn be Nero limiting his

           travels. Further, this court could impose a curfew restricting his mobility

           allowing him only to go to work or medical appointments.

        46. Other conditions can be imposed to limit his associations to non-felons and

           prohibit contact with persons with a prior criminal history.

        47. Additionally, because Mr. Nero has a long history of addiction, and participated in

           drug therapy and rehabilitation at Shar House in Detroit; another condition of

           bond that the court could impose is regular drug testing and therapy,

        48. In short there are conditions that could be imposed that would allow Mr. Nero to

           be released on bond while awaiting trial.

                   WHEREFORE, for the foregoing reasons, Defendant Nero is respectfully

           requesting that the Order of Detention be set side and an order for personal




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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1306 Filed 06/27/19 Page 12 of 16




            release, with conditions, if necessary, be imposed allowing Mr. Nero to be free of

            detention pending trial.

                                                         Respectfully submitted,

            !
                                                  By: /s/Mark H. Magidson
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                                                         MMAG100@AOL.COM
            !
                                                  !
                                                  !
                                                  !
                 DEFENDANT NERO’S BRIEF IN SUPPORT OF MOTION
                     FOR REVOCATION OF DETENTION ORDER
     !
     I. FACTUAL STATEMENT
     !
            Defendant is charged with in a multi- count Indictment, with Count I, Sex

     Trafficking Conspiracy, contrary to 18 U.S.C. §1594(c); Count II, sex trafficking by

     force, fraud and coercion, contrary to 18 U.S.C. §1591(a)&(b); Count III, sex trafficking

     by force, fraud and coercion, contrary to 18 U.S.C. §1591(a)&(b); Count IV, Conspiracy

     to Distribute a Controlled Substance, Contrary to 21 U.S.C. §§ 841(a)(1)l 841(b)(1)(A);

     841(b)(1)(C); and Count VIII, Maintaining Drug-Involved Premises, contrary to 21.

     U.S.C., §856(a)(1) and or aiding and abetting of the same, contrary to 18 U.S.C. §2.

            Mr. Nero previously filed a Motion for the revocation of the Detention Order,

     approximately a year ago that was denied by this Court. However, Mr. Nero believes


                                                !12
Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1307 Filed 06/27/19 Page 13 of 16




     there are new considerations, which this Court should consider that could lead to a

     different result. Specifically he has been detained two years at facilities that are only

     designed to maximally detain someone for one year and do not allow for contact

     visitation, yet he has had no major misconducts or misbehaviors. Second, the defense has

     located other witnesses who can vouch that the suspect behavior seen in the videos is

     conduct that would not in fact support the allegations contained in the Indictment and in

     fact support Nero’s position. His position is that he was merely present in this web of

     drugs and prostitution and hustling and that he was also an addict living the same lifestyle

     of the women who are alleged to be his victims.

        II. ARGUMENT

            THE MAGISTRATE JUDGE ERRED IN CONCLUDING THAT THERE
            WERE NO CONDITIONS OR CIRCUMSTANCES THAT WOULD
            PROTECT SOCIETY AND ASSURE THE DEFERNDANT’S
            APPEARANCE.
        !
                             According to the provisions of 18 U.S.C. § 3142(e), a defendant
             shall be detained pending trial if, after a hearing, the judicial officer finds that no
             condition or set of conditions will reasonably assure the appearance of the person
             as required and the safety of any other person and the community. Section
             3142(g) sets out the factors to be considered in making that determination. Those
             factors are: (1) the nature and circumstances of the offense charged; (2) the
             weight of the evidence against the person; (3) the history and characteristics of
             the person; and (4) the nature and seriousness of the danger to any person or the
             community that would be posed by the defendant's release.
                    “The law requires reasonable assurance but does not demand absolute
             certainty.” United States v. Alston, 420 F.2d 176, 178 (D.C.Cir.1969); see also
             United States v. Orta, 760 F. 2d 887, 891–92 (8th Cir.1985):

             the district court erred in interpreting the “reasonably assure” standard set forth in
             the statute as a requirement that release conditions “guarantee” community safety
             and the defendant's appearance. Such an interpretation contradicts both the
             framework and the intent of the pretrial release and detention provision of the
             1984 Act. Congress envisioned the pretrial detention of only a fraction of accused

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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1308 Filed 06/27/19 Page 14 of 16




             individuals awaiting trial. The district court's interpretation, however, virtually
             mandates the detention of almost every pretrial defendant: no other safeguard can
             “guarantee” the avoidance of the statutory concerns.
             !
                    The structure of the [bail] statute mandates every form of release be
             considered before detention may be imposed. That structure cannot be altered by
             building a “guarantee” requirement atop the legal criterion erected to evaluate
             release conditions in individual cases. United States v. Orta, Supra, at 892

       The Court reviews a defendant's appeal of an order of detention de novo. U.S. v. Leon,
     766 F.2d 77 (2d Cir.1985); see also U.S. v. Koubriti, 2001 WL 1525270 (E.D.Mich.2001)
     (Although the Sixth Circuit has not squarely addressed the issue of the proper standard of
     review of a Magistrate Judge's detention order, the majority of the circuits that have
     considered the issue have ruled that a de novo review is appropriate); U.S. v.
     Runnderstand, 2008 WL 927774 (E.D.Mich.2008). In reviewing the appeal, the Court
     “may ‘start from scratch’ and hold a new hearing or review the transcripts of the
     proceedings before the magistrate.” United States v. Hammond, 204 F.Supp.2d 1157,
     1162 (E.D.Wis.2002) (citing United States v. Torres, 929 F.2d 291, 292 (7th Cir.1991));
     see also United States v. Vasquez, 241 F.Supp.2d 34, 35 (D.Me.2003) (court considered
     both the transcript of the hearing before the Magistrate Judge and additional evidence
     produced at a hearing).


       The Defendants' guilt or innocence need not be decided at a detention hearing. Indeed,

     “the statute neither requires nor permits a pretrial determination of guilt.” See United

     States v. Johnson, 2007 WL 1712541 at *1 (E.D.Mich. June 13, 2007) (citing United

     States v. Gebro, 948 F.2d 1118, 1121 (9th Cir.1991)). Nonetheless, the weight of the

     evidence the Government has against Defendants is an important consideration. In fact,

     the seriousness of the charged offenses, the weight of the evidence, and whether the

     Defendants are a danger to the community, are inextricably intertwined.


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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1309 Filed 06/27/19 Page 15 of 16




        While 18 U.S.C. 3142(e)(3) creates a rebuttal presumption in favor of detention in this
     case, the presumption requires merely that Mr. Nero “come forward with evidence that he
     does not pose a danger to the community or risk of flight” and that burden of production
     in rebuttal requires Mr. Nero to present some evidence in his favor while the burden of
     persuasion continues to rest with the Government. United States v. Mercedes, 254 F. 3d
     433, 436 (2nd Cir., 2001); United States v. Strickland, 932 F.2d 1353, 1355 (10th Cir.
     1991).

       The Sixth Circuit has held that in both presumption and non-presumption cases, the
     Government maintains the burden of proving that no condition of release can assure the
     defendant will appear nor that they can assure the safety of the community. United States
     v Stone, 608 F.3d 939,946 (2010). Further the Court in Stone emphasized that in cases
     “involving multiple defendants who are not similarly situated, the dangerousness inquiry
     must be an individualized one. Just as at trial, in which courts and juries must resist the
     urge to find guilt or innocence by association, each defendant is entitled to have an
     individualized determination of bail eligibility, Id.

       The required individualized assessment must be viewed in the context of a Defendant’s
     strong Fifth Amendment liberty interest such that there are limited circumstances in
     which the Government’s interest in detention for purposes of community safety or to
     guarantee appearance are limited. United States v. Salerno, 481 U.S. 739,749-50, 107
     S.Ct. 2095, 95 L.Ed.2d 697 (1987). There the Court held that that it was not a deprivation
     of Due Process to deny bail to the leader and captain of a Mafia crime family who were
     accused of 35 racketeering acts and many continuous violent acts.


       Here, as noted in the Motion, the allegations in the Indictment are sparse and vague.
     The Indictment outlines serious allegations against other members of this conspiracy, but
     there is nothing specific as to Mr. There are no specific allegations as to Mr. Nero, only
     vague conclusions. The history of Mr. Nero is that has problem with addiction. He has a
     history of people taking advantage of him when he used drugs. But the people who know
     him, attest to the fact that he is not abusive and in fact can be a “guardian angel” to those
     who are in distress and the people depicted in the videos as his “victims” state facts to the
     contrary.


       WHEREFORE, Mr. Nero respectfully request that this Court review this matter, and

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Case 2:17-cr-20183-MAG-RSW ECF No. 296, PageID.1310 Filed 06/27/19 Page 16 of 16




     permit Defendant to call witnesses, who can attest that they can provide Nero with a job

     and accommodations and attest to what was really going on at the Inn as it relates to

     Nero, and after due consideration, release Mr. Nero on an unsecured bond with any

     conditions this court deems reasonable and necessary.


                                                  Respectfully submitted,

     !
                                                  By:/s/Mark H. Magidson
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